               Case 21-16133-LMI        Doc 32      Filed 09/10/21     Page 1 of 18


                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:                                                         Case No.: 21-16133-LMI

OCEANROAD GLOBAL SERVICES LIMITED,                             Chapter 15
HOLDWAVE TRADING LIMITED,

      Debtors in a Foreign Proceeding.                         (Jointly Administered)
_________________________________/

             NOTICE OF EXAMINATION PURSUANT TO FEDERAL RULE
           OF BANKRUPTCY PROCEDURE 2004 AND NOTICE OF SUBPOENA
                             DOCUMENTS ONLY

         Nicholas Wood, Colin Diss, and Michael Leeds, the joint liquidators (“Foreign

Representatives”), by the undersigned attorney, request that UBS GROUP AG, on Friday,

September 24, 2021 no later than 5:00 p.m. at Sequor Law, attn.: Carolina Z. Goncalves, 1111

Brickell    Avenue,    Suite    1250,      Miami,    FL       33131,   cgoncalves@sequorlaw.com;

jleon@sequorlaw.com (if produced by mail or electronically or by hand delivery), produce all of

the documents as detailed in the Subpoena to Produce Documents, Information, or Objects or to

Permit Inspection of Premises in a Bankruptcy Case Examination included with this Notice,

attached hereto and incorporated herein.

         This request for production of documents is pursuant to Rule 2004, Federal Rules of

Bankruptcy Procedure, and Local Rule 2004-1, Bankruptcy Rules for the United States

Bankruptcy Court for the Southern District of Florida. The scope of the request is as described in

Bankruptcy Rule 2004. Pursuant to Local Rule 2004-1 no order shall be necessary.

         Dated: September 10, 2021
                                                      Respectfully submitted,




                                           SEQUOR LAW, P.A.
               Case 21-16133-LMI        Doc 32       Filed 09/10/21    Page 2 of 18



                                                       SEQUOR LAW, P.A.
                                                       1111 Brickell Avenue, Suite 1250
                                                       Miami, Florida 33131
                                                       nmiller@sequorlaw.com
                                                       cgoncalves@sequorlaw.com
                                                       Telephone:    (305) 372-8282
                                                       Facsimile:    (305) 372-8202

                                              By:      /s/ Carolina Z. Goncalves
                                                       Nyana Abreu Miller, Esq.
                                                       Fla. Bar No.: 92903
                                                       Carolina Z. Goncalves, Esq.
                                                       Fla. Bar No.: 124570

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic

filing using the CM/ECF system with the Clerk of the Court which sent e-mail notification of such

filing to all CM/ECF participants in this case and via regular US mail to all participants who are

not on the list to receive e-mail notice/service for this case as indicated on the service list on

September 10, 2021.

                                              By:      /s/ Carolina Z. Goncalves
                                                       Carolina Z. Goncalves, Esq.


                                         SERVICE LIST

Electronic Mail Notice List

The following is the list of parties who are currently on the list to receive email notice/service
for this case.

      Nyana Abreu Miller, Esq. nmiller@sequorlaw.com; msanchez@sequorlaw.com
      Carolina Z. Goncalves, Esq. cgoncalves@sequorlaw.com; msanchez@sequorlaw.com
      Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov

Manual Notice List

       (No manual recipients)


                                                 2
                                         SEQUOR LAW, P.A.
                            Case 21-16133-LMI          Doc 32      Filed 09/10/21       Page 3 of 18



                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION
                                               www.flsb.uscourts.gov

In re:                                                           Case No.: 21-16133-LMI

OCEANROAD GLOBAL SERVICES LIMITED,                               Chapter 15
HOLDWAVE TRADING LIMITED,

      Debtors in a Foreign Proceeding.                           (Jointly Administered)
_________________________________/

                               SUBPOENA FOR RULE 2004 EXAMINATION
                                             (Documents Only)
  To:         UBS GROUP AG
  By Serving: Via Email: sh-legal-Subpoenas@ubs.com

  □ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at an
  examination under Rule 2004, Federal Rules of Bankruptcy Procedure and Local Rule 2004-1.
  PLACE: (If not produced electronically)                                       DATE AND TIME
           Sequor Law
           1111 Brickell Avenue, Suite 1250                                     September 24, 2021, no later than 5:00 p.m.
           Miami, FL 33131

  The examination will be recorded by this method: Documents only, no testimony will be taken at this time.

  □
  X Production: You, or your representatives, must also bring with you to the examination the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
  See Schedule I attached hereto.

 The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are attached
Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a subpoena; and
Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not doing so.

 Date: September 10, 2021
                            CLERK OF COURT

                                                                   OR
                            Signature of Clerk or Deputy Clerk            /s/ Carolina Z. Goncalves


The name, address, email address, and telephone number of the attorneys representing Nicholas Wood, Colin Diss, and Michael
Leeds (“Foreign Representatives”), who issue or request this subpoena, are: Nyana Abreu Miller (nmiller@sequorlaw.com;
jleon@sequorlaw.com);Carolina Z. Goncalves (cgoncalves@sequorlaw.com); 1111 Brickell Avenue, Suite 1250, Miami, FL 33131;
(305) 372-8282.
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

                                                           Page 1 of 16

LF-84 (rev. 12/01/15)
                               Case 21-16133-LMI               Doc 32     Filed 09/10/21        Page 4 of 18


                                                         PROOF OF SERVICE
                        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

  I received this subpoena for (name of individual and title, if any):
  on (date)             .


  □ I served the subpoena by delivering a copy to the named person as follows:
                                                   on (date)                             ; or


  □ I returned the subpoena unexecuted because:

  Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
  witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                  .

   My fees are $                for travel and $               for services, for a total of $           .


   I declare under penalty of perjury that this information is true and correct.

   Date:

                                                                                                  Server’s signature


                                                                                                Printed name and title



                                                                                                   Server’s address


  Additional information concerning attempted service, etc.:




                                                                    Page 2 of 16

LF-84 (rev. 12/01/15)
                                     Case 21-16133-LMI                    Doc 32          Filed 09/10/21               Page 5 of 18
                              Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                          (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

  (c) Place of compliance.                                                                          (ii) disclosing an unretained expert's opinion or information that does
                                                                                              not describe specific occurrences in dispute and results from the expert's
    (1) For a Trial, Hearing, or Deposition. A subpoena may command a                         study that was not requested by a party.
  person to attend a trial, hearing, or deposition only as follows:                               (C) Specifying Conditions as an Alternative. In the circumstances
      (A) within 100 miles of where the person resides, is employed, or                       described in Rule 45(d)(3)(B), the court may, instead of quashing or
  regularly transacts business in person; or                                                  modifying a subpoena, order appearance or production under specified
      (B) within the state where the person resides, is employed, or regularly                conditions if the serving party:
  transacts business in person, if the person                                                        (i) shows a substantial need for the testimony or material that cannot
        (i) is a party or a party’s officer; or                                               be otherwise met without undue hardship; and
        (ii) is commanded to attend a trial and would not incur substantial                          (ii) ensures that the subpoenaed person will be reasonably
  expense.                                                                                    compensated.

    (2) For Other Discovery. A subpoena may command:                                          (e) Duties in Responding to a Subpoena.
      (A) production of documents, or electronically stored information, or
  things at a place within 100 miles of where the person resides, is employed,                  (1) Producing Documents or Electronically Stored Information. These
  or regularly transacts business in person; and                                              procedures apply to producing documents or electronically stored
      (B) inspection of premises, at the premises to be inspected.                            information:
                                                                                                  (A) Documents. A person responding to a subpoena to produce
  (d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                              documents must produce them as they are kept in the ordinary course of
                                                                                              business or must organize and label them to correspond to the categories in
        (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                              the demand.
  attorney responsible for issuing and serving a subpoena must take
                                                                                                  (B) Form for Producing Electronically Stored Information Not
  reasonable steps to avoid imposing undue burden or expense on a person
                                                                                              Specified. If a subpoena does not specify a form for producing
  subject to the subpoena. The court for the district where compliance is
                                                                                              electronically stored information, the person responding must produce it in
  required must enforce this duty and impose an appropriate sanction —
                                                                                              a form or forms in which it is ordinarily maintained or in a reasonably
  which may include lost earnings and reasonable attorney's fees — on a
                                                                                              usable form or forms.
  party or attorney who fails to comply.
                                                                                                  (C) Electronically Stored Information Produced in Only One Form. The
                                                                                              person responding need not produce the same electronically stored
    (2) Command to Produce Materials or Permit Inspection.
                                                                                              information in more than one form.
      (A) Appearance Not Required. A person commanded to produce
                                                                                                  (D) Inaccessible Electronically Stored Information. The person
  documents, electronically stored information, or tangible things, or to
                                                                                              responding need not provide discovery of electronically stored information
  permit the inspection of premises, need not appear in person at the place of
                                                                                              from sources that the person identifies as not reasonably accessible because
  production or inspection unless also commanded to appear for a deposition,
                                                                                              of undue burden or cost. On motion to compel discovery or for a protective
  hearing, or trial.
                                                                                              order, the person responding must show that the information is not
      (B) Objections. A person commanded to produce documents or tangible
                                                                                              reasonably accessible because of undue burden or cost. If that showing is
  things or to permit inspection may serve on the party or attorney designated
                                                                                              made, the court may nonetheless order discovery from such sources if the
  in the subpoena a written objection to inspecting, copying, testing or
                                                                                              requesting party shows good cause, considering the limitations of Rule
  sampling any or all of the materials or to inspecting the premises — or to
                                                                                              26(b)(2)(C). The court may specify conditions for the discovery.
  producing electronically stored information in the form or forms requested.
  The objection must be served before the earlier of the time specified for
                                                                                                 (2) Claiming Privilege or Protection.
  compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                                   (A) Information Withheld. A person withholding subpoenaed
  the following rules apply:
                                                                                              information under a claim that it is privileged or subject to protection as
        (i) At any time, on notice to the commanded person, the serving party
                                                                                              trial-preparation material must:
  may move the court for the district where compliance is required for an
                                                                                                     (i) expressly make the claim; and
  order compelling production or inspection.
                                                                                                     (ii) describe the nature of the withheld documents, communications,
        (ii) These acts may be required only as directed in the order, and the
                                                                                              or tangible things in a manner that, without revealing information itself
  order must protect a person who is neither a party nor a party's officer from
                                                                                              privileged or protected, will enable the parties to assess the claim.
  significant expense resulting from compliance.
                                                                                                   (B) Information Produced. If information produced in response to a
                                                                                              subpoena is subject to a claim of privilege or of protection as trial-
    (3) Quashing or Modifying a Subpoena.
                                                                                              preparation material, the person making the claim may notify any party that
      (A) When Required. On timely motion, the court for the district where
                                                                                              received the information of the claim and the basis for it. After being
  compliance is required must quash or modify a subpoena that:
                                                                                              notified, a party must promptly return, sequester, or destroy the specified
        (i) fails to allow a reasonable time to comply;
                                                                                              information and any copies it has; must not use or disclose the information
        (ii) requires a person to comply beyond the geographical limits
                                                                                              until the claim is resolved; must take reasonable steps to retrieve the
  specified in Rule 45(c);
                                                                                              information if the party disclosed it before being notified; and may
        (iii) requires disclosure of privileged or other protected matter, if no
                                                                                              promptly present the information under seal to the court for the district
  exception or waiver applies; or
                                                                                              where compliance is required for a determination of the claim. The person
        (iv) subjects a person to undue burden.
                                                                                              who produced the information must preserve the information until the claim
      (B) When Permitted. To protect a person subject to or affected by a
                                                                                              is resolved.
  subpoena, the court for the district where compliance is required may, on
  motion, quash or modify the subpoena if it requires:
                                                                                              (g) Contempt. The court for the district where compliance is required – and
        (i) disclosing a trade secret or other confidential research,
                                                                                              also, after a motion is transferred, the issuing court – may hold in contempt
  development, or commercial information; or
                                                                                              a person who, having been served, fails without adequate excuse to obey
                                                                                              the subpoena or an order related to it.
                                                                   For Access to Subpoena Materials
                                                                   Fed. R. Civ. P. 45(a) Committee Note (2013)
         • Parties desiring access to information produced in response to this subpoena will need to follow up with the party serving the subpoena to obtain such access.
        • The party serving the subpoena should make reasonable provisions for prompt access.
        • The court for the district where compliance with the subpoena is required has authority to order notice of receipt of produced materials or access to them.
                                                                                   Page 3 of 16

LF-84 (rev. 12/01/15)
              Case 21-16133-LMI         Doc 32     Filed 09/10/21     Page 6 of 18



                                          SCHEDULE I

                       DEFINITIONS AND GENERAL PROVISIONS

       As used in this request, the following words shall have the following meanings:

        1.      “You,” “Your,” or the “Bank” refers to the recipient of this subpoena, and, where
applicable, its parent companies, affiliates, or subsidiaries acting in any capacity, including as
trustee, administrative agent, or collateral agent for a Loan (as such term is defined below).

        2.      “Entity and/or Individual” and/or “Entities and/or Individuals” refer to each of the
following entities or individuals and extends to any entities or individuals bearing a name of
similar variation, as well as to any instance in which the Entities or Individuals are reflected as
having any relation to the matters set forth in the “Document Requests”:

                COMPANY                                           ITERATIONS

 Connecor (UK) Limited                  Connecor (UK)
                                        Connecor (UK) Ltd
 Formerly known as Welland Investments Connecor Limited
 Limited,    PTC     (Professional  Tax Connecor Ltd
 Consultancy) Limited, and Foddington & Welland Investments Limited
 Cove Limited                           Welland Investments
                                        Welland Investments Ltd
                                        Welland Limited
                                        Welland Ltd
                                        PTC (Professional Tax Consultancy) Limited
                                        PTC Limited
                                        PTC Ltd
                                        Professional Tax Consultancy Limited
                                        Professional Tax Consultancy Ltd
                                        Foddington & Cove Limited
                                        Foddington & Cove Ltd
                                        Foddington & Cove
                                        Foddington Limited
                                        Foddington Ltd
 Oceanroad Global Services Limited      Oceanroad Global Services Ltd
                                        Oceanroad Global Services
                                        Oceanroad Global
                                        Oceanroad Global Limited
                                        Oceanroad Global Ltd
                                        Oceanroad Services
                                        Oceanroad Services Limited
                                        Oceanroad Services Ltd
                                        Oceanroad Limited
                                        Oceanroad Ltd
 Holdwave Trading Limited               Holdwave Trading
                                        Holdwave Trading Ltd
                                        Holdwave Limited
                                            Page 4 of 16
            Case 21-16133-LMI   Doc 32    Filed 09/10/21   Page 7 of 18



                                     Holdwave Ltd
Bramhall & Lonsdale Limited          Bramhall & Lonsdale Ltd
                                     Bramhall & Lonsdale
                                     Bramhall Ltd
                                     Bramhall Limited
Carte & Hurt Tools Limited           Carte & Hurt Tools Ltd
                                     Carte & Hurt Tools
                                     Carte & Hurt Limited
                                     Carte & Hurt Ltd
                                     Carte Tools Limited
                                     Carte Tools Ltd
                                     Carte Limited
                                     Carte Ltd
Harrington & Charles Trading Company Harrington & Charles Trading Company Ltd
Limited                              Harrington & Charles Trading Company
                                     Harrington & Charles Trading
                                     Harrington & Charles Trading Ltd
                                     Harrington & Charles Trading Limited
                                     Harrington & Charles
                                     Harrington & Charles Ltd
                                     Harrington & Charles Limited
OC305234 LLP                         Rose Mountain LLP
                                     Rose Mountain
Blackstone Group Management Ltd      Blackstone Group Management Limited
                                     Blackstone Group Management
                                     Blackstone Group
                                     Blackstone Group Ltd
                                     Blackstone Group Limited
                                     Blackstone Ltd
                                     Blackstone Limited
                                     Black Stone Group Management Limited
                                     Black Stone Group Management Ltd
                                     Blackstone Management
                                     Blackstone Management Ltd
                                     Blackstone Management Limited
Docklands Investment Limited         Docklands Investment Ltd
                                     Docklands Investment
                                     Docklands Limited
                                     Docklands Ltd
Thorin International Limited         Thorin International Ltd
                                     Thorin International
Formerly known as Brocode Holdings   Thorin Limited
Limited                              Thorin Ltd
                                     Brocode Holdings Limited
                                     Brocode Holdings Ltd
                                     Brocode Holdings
                                     Brocode Limited
                                     Brocode Ltd
                                   Page 5 of 16
            Case 21-16133-LMI       Doc 32    Filed 09/10/21   Page 8 of 18



Harmony Overseas Management Limited        Harmony Overseas Management Ltd
                                           Harmony Overseas Management
                                           Harmony Overseas Limited
                                           Harmony Overseas Ltd
                                           Harmony Management Limited
                                           Harmony Management Ltd
                                           Harmony Management
Mosman Industries Ltd                      Mosman Industries Limited
                                           Mosman Industries
                                           Mosman Ltd
                                           Mosman Limited
Energy One Holdings Limited                Energy One Holdings Ltd
                                           Energy One Holdings
                                           Energy One Limited
                                           Energy One Ltd
                                           Energy Holdings Limited
                                           Energy Holdings Ltd
Emerging Growth Fund Ltd                   Emerging Growth Fund Limited
                                           Emerging Growth Fund
                                           Emerging Fund Ltd
                                           Emerging Fund Limited
                                           Emerging Growth Ltd
                                           Emerging Growth Limited
                                           Emerging Growth
Glengoyne Financial Holdings Corp          Glengoyne Financial Holdings Corp Ltd
                                           Glengoyne Financial Holdings Corp Limited
                                           Glengoyne Financial Holdings Corporation
                                           Limited
                                           Glengoyne Financial Holdings Corporation Ltd
                                           Glengoyne Financial Holdings Corporation
                                           Glengoyne Financial Holding Corp
                                           Glengoyne Financial Holding Corp Ltd
                                           Glengoyne Financial Holding Corp Limited
                                           Glengoyne Financial Holdings Ltd
                                           Glengoyne Financial Holdings Limited
                                           Glengoyne Financial Holdings
                                           Glengoyne Financial
                                           Glengoyne Financial Ltd
                                           Glengoyne Corp
                                           Glengoyne Corporation
                                           Glengoyne Corp Ltd
                                           Glengoyne Corp Limited
Nikka Invest & Finance Inc.                Nikka Invest & Finance Inc
                                           Nikka Invest & Finance
                                           Nikka Invest and Finance Inc.
                                           Nikka Invest and Finance Inc
                                           Nikka Investments & Finance Inc.
                                           Nikka Investments & Finance Inc
                                       Page 6 of 16
            Case 21-16133-LMI         Doc 32    Filed 09/10/21   Page 9 of 18



                                             Nikka Investments & Finance
                                             Nikka Invest Inc.
                                             Nikka Invest Inc
                                             Nikka Finance Inc.
                                             Nikka Finance Inc
Kilchoman Trading S.A.                       Kilchoman Trading SA
                                             Kilchoman Trading
                                             Kilchoman S.A.
Incendio Global Limited                      Incendio Global
                                             Incendio Global Ltd
                                             Incendio Limited
                                             Incendio Ltd
                                             Incendio Global BVI Limited
                                             Incendio Global BVI Ltd
                                             Incendio Global BVI
                                             Incendio Global Bahamas Limited
                                             Incendio Global Bahamas Ltd
                                             Incendio Global Bahamas
Joint Ford Limited                           Joint Ford Ltd
PDC Ltd                                      PDC Limited
Spring Field Group Limited B.V.              Spring Field Group Limited BV
                                             Spring Field Group Limited
Formerly known as JRD International          Spring Field Group
Limited                                      Spring Field Limited
                                             Spring Field Ltd
                                             Springfield Limited
                                             Springfield Ltd
                                             Springfield Group Limited B.V.
                                             Springfield Group Limited
                                             Springfield Group
                                             JRD International Limited
                                             JRD International Ltd
                                             JRD International
                                             JRD International Limited B.V.
Alma Diamonds Co. (HK) Ltd                   Alma Diamonds Co. (HK) Limited
                                             Alma Diamonds Co (HK) Ltd
Formerly known as Su-Raj Diamond             Alma Diamonds Co (HK) Limited
(H.K.) Ltd                                   Alma Diamonds Co (H.K.) Ltd
                                             Alma Diamonds Co (H.K.) Limited
                                             Alma Diamonds Co. (Hong Kong) Ltd
                                             Alma Diamonds Co. (Hong Kong) Limited
                                             Alma Diamonds Co. HK Ltd
                                             Alma Diamonds Co. HK Limited
                                             Alma Diamonds Co. H.K. Ltd
                                             Alma Diamonds Co. H.K. Limited
                                             Alma Diamonds Co Ltd
                                             Alma Diamonds Co Limited
                                             Alma Diamonds Ltd
                                         Page 7 of 16
           Case 21-16133-LMI      Doc 32      Filed 09/10/21   Page 10 of 18



                                            Su-Raj Diamond (H.K.) Ltd
                                            Su-Raj Diamond (H.K.) Limited
                                            Su-Raj Diamonds (H.K.) Ltd
                                            Su-Raj Diamonds (HK) Ltd
                                            Su-Raj Diamonds (HK) Limited
                                            Su-Raj Diamonds Limited
                                            Su-Raj Diamonds Ltd
Power Capital Ventures Limited              Power Capital Ventures Ltd
                                            Power Capital Ventures
Al Noora Jewellery FZE                      Al Noora Jewellery
                                            Al Noora FZE
Marengo Investment Group Ltd                Marengo Investment Group Limited
                                            Marengo Investment Group
Pinnacle Investment Funds SPC Limited       Pinnacle Investment Funds SPC Ltd
                                            Pinnacle Investment Funds SPC
A/k/a New Age Growth Fund Limited           Pinnacle Investment Funds
                                            Pinnacle Investment Fund SPC Limited
                                            Pinnacle Investment Fund SPC Ltd
                                            Pinnacle Investment Fund SPC
                                            Pinnacle Investment Fund
                                            New Age Growth Fund Limited
                                            New Age Growth Fund Ltd
                                            New Age Growth Fund
Global Growth Fund                          Global Growth Fund Limited
                                            Global Growth Fund Ltd
                                            Global Growth Fund
Italian Gold FZC                            Italian Gold FZC
                                            Italian Gold F.Z.C.
Al Alam Jewellery FZC                       Al Alam Jewellery FZC
                                            Al Alam Jewelery FZC
                                            Al Alam Jewelry FZC
                                            Al Alam Jewellery F.Z.C.
                                            Al Alam Jewelery F.Z.C.
                                            Al Alam Jewelry F.Z.C.
                                            Al Alam Jewellery
                                            Al Alam Jewelery
                                            Al Alam Jewelry
                                            Al Alam FZC
                                            Al Alam F.Z.C.
Al Mufied Jewellery FZC                     Al Mufied Jewellery FZC
                                            Al Mufied Jewelery FZC
                                            Al Mufied Jewelry FZC
                                            Al Mufied Jewellery F.Z.C.
                                            Al Mufied Jewelery F.Z.C.
                                            Al Mufied Jewelry F.Z.C.
                                            Al Mufied Jewellery
                                            Al Mufied Jewelery
                                            Al Mufied Jewelry
                                        Page 8 of 16
           Case 21-16133-LMI   Doc 32     Filed 09/10/21   Page 11 of 18



                                        Al Mufied FZC
                                        Al Mufied F.Z.C.
Al Qasif Jewellery FZE                  Al Qasif Jewellery FZE
                                        Al Qasif Jewelery FZE
                                        Al Qasif Jewelry FZE
                                        Al Qasif Jewellery F.Z.E.
                                        Al Qasif Jewelery F.Z.E.
                                        Al Qasif Jewelry F.Z.E.
                                        Al Qasif Jewellery
                                        Al Qasif Jewelery
                                        Al Qasif Jewelry
                                        Al Qasif FZE
                                        Al Qasif F.Z.E.
Al Razin Jewellery FZE                  Al Razin Jewellery FZE
                                        Al Razin Jewelery FZE
                                        Al Razin Jewelry FZE
                                        Al Razin Jewellery F.Z.E.
                                        Al Razin Jewelery F.Z.E.
                                        Al Razin Jewelry F.Z.E.
                                        Al Razin Jewellery
                                        Al Razin Jewelery
                                        Al Razin Jewelry
                                        Al Razin FZE
                                        Al Razin F.Z.E.
Al Faheem Jewellery FZE                 Al Faheem Jewellery FZE
                                        Al Faheem Jewelery FZE
                                        Al Faheem Jewelry FZE
                                        Al Faheem Jewellery F.Z.E.
                                        Al Faheem Jewelery F.Z.E
                                        Al Faheem Jewelry F.Z.E.
                                        Al Faheem Jewellery
                                        Al Faheem Jewelery
                                        Al Faheem Jewelry
                                        Al Faheem FZE
                                        Al Faheem F.Z.E.
Al Minhaj Jewellery FZE                 Al Minhaj Jewellery FZE
                                        Al Minhaj Jewelery FZE
                                        Al Minhaj Jewelry FZE
                                        Al Minhaj Jewellery F.Z.E.
                                        Al Minhaj Jewelery F.Z.E.
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                                        Al Minhaj Jewellery
                                        Al Minhaj Jewelery
                                        Al Minhaj Jewelry
                                        Al Minhaj FZE
                                        Al Minhaj F.Z.E.
Al Masa Jewellery FZE                   Al Masa Jewellery FZE
                                        Al Masa Jewelery FZE
                                  Page 9 of 16
           Case 21-16133-LMI   Doc 32     Filed 09/10/21   Page 12 of 18



                                        Al Masa Jewelry FZE
                                        Al Masa Jewellery F.Z.E.
                                        Al Masa Jewelery F.Z.E.
                                        Al Masa Jewelry F.Z.E.
                                        Al Masa Jewellery
                                        Al Masa Jewelery
                                        Al Masa Jewelry
                                        Al Masa FZE
                                        Al Masa F.Z.E.
Dana Jewellery FZE                      Dana Jewellery FZE
                                        Dana Jewelery FZE
                                        Dana Jewelry FZE
                                        Dana Jewellery F.Z.E.
                                        Dana Jewelery F.Z.E.
                                        Dana Jewelry F.Z.E.
                                        Dana Jewellery
                                        Dana Jewelery
                                        Dana Jewelry
                                        Dana FZE
                                        Dana F.Z.E.
Al Lulu Jewellery FZE                   Al Lulu Jewellery FZE
                                        Al Lulu Jewelery FZE
                                        Al Lulu Jewelry FZE
                                        Al Lulu Jewellery F.Z.E.
                                        Al Lulu Jewelery F.Z.E.
                                        Al Lulu Jewelry F.Z.E.
                                        Al Lulu Jewellery
                                        Al Lulu Jewelery
                                        Al Lulu Jewelry
                                        Al Lulu FZE
                                        Al Lulu F.Z.E.
Al Subhi Jewellery FZE                  Al Subhi Jewellery FZE
                                        Al Subhi Jewelery FZE
                                        Al Subhi Jewelry FZE
                                        Al Subhi Jewellery F.Z.E.
                                        Al Subhi Jewelery F.Z.E.
                                        Al Subhi Jewelry F.Z.E.
                                        Al Subhi Jewellery
                                        Al Subhi Jewelery
                                        Al Subhi Jewelry
                                        Al Subhi FZE
                                        Al Subhi F.Z.E.
Al Jumanah Jewellery FZE                Al Jumanah Jewellery FZE
                                        Al Jumanah Jewelery FZE
                                        Al Jumanah Jewelry FZE
                                        Al Jumanah Jewellery F.Z.E.
                                        Al Jumanah Jewelery F.Z.E.
                                        Al Jumanah Jewelry F.Z.E.
                                  Page 10 of 16
           Case 21-16133-LMI    Doc 32     Filed 09/10/21   Page 13 of 18



                                         Al Jumanah Jewellery
                                         Al Jumanah Jewelery
                                         Al Jumanah Jewelry
                                         Al Jumanah FZE
                                         Al Jumanah F.Z.E.
Al Ihsan Jewellery FZE                   Al Ihsan Jewellery FZE
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                                         Al Ihsan Jewellery F.Z.E.
                                         Al Ihsan Jewelery F.Z.E.
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                                         Al Ihsan Jewelry
                                         Al Ihsan FZE
                                         Al Ihsan F.Z.E.
Al Abia Jewellery FZC                    Al Abia Jewellery FZC
                                         Al Abia Jewelery FZC
                                         Al Abia Jewelry FZC
                                         Al Abia Jewellery F.Z.C.
                                         Al Abia Jewelery F.Z.C.
                                         Al Abia Jewelry F.Z.C.
                                         Al Abia Jewellery
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                                         Al Abia FZC
                                         Al Abia F.Z.C.
Winsome Diamonds and Jewellery Limited   Winsome Diamonds and Jewellery Limited
                                         Winsome Diamonds and Jewelery Limited
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                                         Winsome Limited
                                    Page 11 of 16
              Case 21-16133-LMI         Doc 32     Filed 09/10/21     Page 14 of 18



                                                 Winsome Ltd
                                                 Winsome Diamonds and Jewellery
                                                 Winsome Diamonds and Jewelery
                                                 Winsome Diamonds and Jewelry
                                                 Winsome Diamonds & Jewellery
                                                 Winsome Diamonds & Jewelery
                                                 Winsome Diamonds & Jewelry
                                                 Winsome Diamonds
                                                 Winsome Jewellery
                                                 Winsome Jewelery
                                                 Winsome Jewelry


        3.      “Account” shall be construed in the broadest sense and shall include all bank
and/or depository accounts at the Bank, including but not limited to savings, checking, credit
card, line of credit, investment, brokerage, bond, stock or equity trading, interest bearing, money
market, certificate of deposit, money market, revolving, or loan, mortgage, or any other account,
whether open or closed, that is (a) held in the name of any Entity or Individual, (b) in which any
Entity or Individual is a beneficiary or ultimate beneficial owner, or (c) in which one or more
Entity and/or Individual is an authorized signatory.

        4.     “Communication” means any exchange of words, notes, symbols, ideas, or
thoughts between two or more people by any medium or method, including: hand-written; typed;
e-mail; text message or via other telephone messaging service such as WhatsApp; recorded
audio; voice recording; or any other medium or method capable of recording and electronically
storing a Communication.

        5.      “Document” shall have the same meaning and scope as “documents or
electronically stored information” within the meaning of Federal Rule of Civil Procedure
34(a)(1)(A).

       6.      “Items” means any checks, wire transfers, drafts or any other document
evidencing a debit or credit from or to any of the Accounts, respectively, including any
document memorializing any incoming or outgoing remittances, debit and credit advices, cash
deposit, or withdrawal, documentation such as SWIFT or any similar payment system, internally
prepared slips or similar other paperwork, that is payable to or from any of the following or
references an Entity or Individual.

        7.        “Loan” or “Loans” means any account at Bank for which Bank issued a loan,
letter of credit, line(s) of credit, debenture, mortgage, and/or credit of any kind to the Debtors or
Debtor-Affiliated Individual on behalf of the Debtors, or guaranteed or co-signed by the Debtors
or Debtor-Affiliated Individual on behalf of the Debtors, whether directly or indirectly.

        8.      “Person” means natural person(s), corporation(s), association(s), partnership(s),
sole proprietorship(s) or public entity(ies).

       9.     “Source of Funds” shall mean the exact account that initiates a payment,
including the name of the account holder, account number, bank name and bank address or
routing number.
                                            Page 12 of 16
              Case 21-16133-LMI        Doc 32      Filed 09/10/21    Page 15 of 18



       10.    The terms “and” and “or” shall be construed conjunctively or disjunctively as is
necessary to make the request for production inclusive rather than exclusive.

       11.     The term “any” means “all” and vice versa.

       12.     The term “including” means including but not limited to.

      13.      The singular shall be construed to include the plural, and vice versa, to make the
Request inclusive rather than exclusive.

        14.    “Related to” or “relating to” means constitute, regarding, refer to, reflect,
mention, evidence, concern, pertain to, arise out of, summarize, analyze, or be logically or
factually connected in any way with the matter discussed.

       15.      For Thorin International Limited a/k/a Brocode Holdings Limited, Incendio
Global Limited, Joint Ford Limited, PDC Ltd., Spring Field Group Limited B.V., Alma
Diamonds Co. (HK) Ltd., Al Noora Jewellery FZE, and Marengo Investment Group Ltd.,
“Relevant Period” refers to the period of time from January 1, 2012 to April 30, 2015. For all
other Entities and/or Individuals, “Relevant Period” refers to the period of time from January 1,
2012 through April 30, 2014. Unless otherwise stated, all Requests refer only to the Relevant
Period.

       16.   “CHIPS” shall mean the Clearing House Interbank Payment System, operated by
the New York Clearing House Association.

      17.   “SWIFT” shall mean the Society for Worldwide Interbank Financial
Telecommunications.

       18.     “Fedwire” means the Federal Reserve’s funds transfer system.

        19.     As payment messages may not include the exact name of the Entities or
Individuals, when searching for documents responsive to Document Request Nos. 5 and 6, please
include payment messages or other Documents that include entities with names substantially
similar to the names listed above.

        20.   To the extent applicable to any documents produced in response to this Subpoena,
please provide an affidavit or certification sufficient to identify such documents as records of a
regularly conducted activity of a business, organization, or calling, as described in Federal Rules
of Evidence, Rule 803(6).

         21.     You are requested to produce all documents that are in your possession, custody,
or control, including, but not limited to, documents in the possession, custody or control of your
affiliates, attorneys, consultants, professionals, agents, representatives, employees, subsidiaries,
sister corporations, parent corporations or any other person or entity acting on your behalf. You
have the affirmative duty to contact any third party, including the foregoing, from whom you
have “the legal right to obtain the documents requested upon demand.” Sergeeva v. Tripleton
Int'l Ltd., 834 F.3d 1194, 1201 (11th Cir. 2016) (affirming order that U.S. company produce
documents in the physical possession or custody of a foreign affiliate); SeaRock v. Stripling, 736
F.2d 650, 653–54 (11th Cir. 1984).

                                            Page 13 of 16
              Case 21-16133-LMI         Doc 32     Filed 09/10/21     Page 16 of 18



        22.    Documents maintained in electronic form must be produced in their native
electronic form with all metadata intact. Data must be produced in the data format in which it is
typically used and maintained. For electronic mail systems using Microsoft Outlook or
LotusNotes, provide all responsive emails and, if applicable, email attachments and any related
documents, in their native file format (i.e., .pst for outlook personal folder, .nsf for LotusNotes).
For all other email systems provide all responsive emails and if applicable, email attachments
and any related documents in TIFF format.

         23.     To the extent any electronically stored information, if produced in its native
format, would be difficult or impossible to review because it would require proprietary or legacy
software, said electronically stored information should be provided in Image (near-paper) format
(i.e., .TIFF, or .PDF files) with a corresponding load file utilizing valid field delimiters and text
qualifiers containing metadata and optical character recognition (OCR) extracted text for said
electronically stored information named with the document identification (DocID) of its
corresponding file.

         24.   To the extent any electronically stored information is a password protected native
file, the password for the native file should be provided as metadata in a text file named with the
document identification (DocID) of the corresponding password protected native file.

       25.    The documents produced pursuant to this Subpoena for production of documents
are to be segregated and identified by the number of the request to which the documents are
responsive.

       26.     In the event you claim that any document requested is unavailable, lost,
misplaced, or destroyed, state the following:

               a.      the date you believe such document became unavailable, lost, misplaced,
                       or destroyed; and

               b.      the reason why such document became misplaced, lost, or destroyed.

       27.      In the event that you seek to withhold any document on the basis that it is covered
by privilege, please provide the following information:

               a.      The name of each author, writer, sender, or initiator of such document or
                       thing, if any;

               b.      The name of each recipient, addressee or party for whom such document
                       or thing was intended, if any;

               c.      The date of such document, if any, or an estimate thereof so indicated if no
                       date appears on the document;

               d.      The general subject matter as described in such document, or, if no such
                       description appears, then such other description sufficient to identify said
                       document; and

                                            Page 14 of 16
             Case 21-16133-LMI        Doc 32     Filed 09/10/21    Page 17 of 18



              e.      The claimed grounds for withholding the document, including, but not
                      limited to the nature of any claimed privilege and grounds in support
                      thereof.

        28.     For each request, or part thereof, which is not fully responded to pursuant to a
privilege, the nature of the privilege and grounds in support thereof should be fully stated, and
that portion of the document not claimed to be privileged shall be produced.


       29.    If production of documents or other items required by this Subpoena would be, in
whole or in part, unduly burdensome, or if the response to an individual request for production
may be aided by clarification of the request, contact the issuer of this Subpoena, to discuss
possible amendments or modifications of the Request within five (5) days of receipt of same.




                                          Page 15 of 16
              Case 21-16133-LMI         Doc 32     Filed 09/10/21     Page 18 of 18



                                 DOCUMENTS REQUESTED

       1.     For the Relevant Period, and for each Account, all of the following Documents
regarding such Account:
           a. account statements;
           b. wire transfer, EFT, or ACH payment requests for payments in an amount greater
       than $500.00;
           c. wire transfer, EFT, or ACH payment confirmations, details, or receipts for
       payments in an amount greater than $500.00;
           d. cancelled checks (front and back) in an amount greater than $500.00;
           e. deposit slips or receipts for any amount greater than $500.00;
           f. records reflecting the receipt or delivery of securities;
           g. applications for credit, including documentation attached to or provided in
       connection therewith;
           h. credit reports;
           i. signature cards; and
           j. account opening Documents, including, without limitation, Know Your Customer
              Documents.

       2.      All Documents pertaining to Certificates of Deposit purchased or redeemed by
any Entity and/or Individual.

      3.     All Documents pertaining to all Cashier's, Manager's, or Bank Checks, Traveler's
Checks, and Money Orders purchased or negotiated by any Entity and/or Individual.

        4.      All Currency Transactions Reports (CTR Form 4789) and Reports of International
Transportation of Currency or Monetary Instruments (Form 4790) filed by you with the
Department of Treasury, Internal Revenue Service, or the United States Customs Service,
relating to any currency transactions conducted by or on behalf of any Entity and/or Individual.

        5.     Logs or spreadsheets listing all wire transfers initiated, originated, credited to, or
ultimately received by any Entity and/or Individual, during the Relevant Period, in which
transfers the Bank acted solely as an intermediary bank or correspondent bank to CHIPS,
Fedwire, or otherwise to facilitate an interbank funds transfer.

       6.     To the extent not included in Document Request No. 5, logs or spreadsheets of all
payment messages—whether generated by CHIPS, SWIFT, Fedwire, or any other interbank
payment service—regarding any wire transfer initiated, originated, credited to, or ultimately
received by any Entity and/or Individual, in which transfer the Bank acted solely as an
intermediary bank or correspondent bank to CHIPS, Fedwire, or otherwise to facilitate an
interbank funds transfer.




                                            Page 16 of 16
